  Case 2:03-cr-80177-RHC ECF No. 163, PageID.607 Filed 11/04/11 Page 1 of 1
MIE 3
11/03
                    Order of the Court to Dismiss Violation Petition/
                               Recall Warrant/Summons/
                        Request Further Action From the Court


UNITED STATES OF AMERICA

               v.

MOHAMAD FARAGE                                                    Crim. No.: 03-CR-80177-DT-04


    On August 19, 2011, the Court authorized a petition and summons for a hearing to address the
supervised release violation charge.


             The probation department is recommending that the violation petition
             be withdrawn and that the summons be vacated and the term of
             supervised release continue to the original expiration date.


Reviewed and Approved:                                       Respectfully Submitted:


s/Michelle D. Livingston                                     s/Veronica L. Ross
Supervising U.S. Probation Officer                           U.S. Probation Officer


                                ORDER OF THE COURT

         Pursuant to the above, it is ordered that the pending violation matter be withdrawn
         and supervision in this case be continued. All conditions imposed at the time of
         sentencing, along with any subsequent modifications to those conditions, remain in
         effect.



         Dated this 4th Day of November, 2011 .



                                             s/Robert H. Cleland
                                             Robert H. Cleland
                                             United States District Judge
